Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 1 of 14 Page ID #:74




                  EXHIBIT B1
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 2 of 14 Page ID #:75
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 3 of 14 Page ID #:76




                  EXHIBIT B2
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 4 of 14 Page ID #:77
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 5 of 14 Page ID #:78




                  EXHIBIT B3
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 6 of 14 Page ID #:79
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 7 of 14 Page ID #:80




                  EXHIBIT B4
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 8 of 14 Page ID #:81
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 9 of 14 Page ID #:82




                  EXHIBIT B5
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 10 of 14 Page ID #:83
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 11 of 14 Page ID #:84




                  EXHIBIT B6
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 12 of 14 Page ID #:85
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 13 of 14 Page ID #:86




                  EXHIBIT B7
Case 2:21-cv-07519-CJC-RAO Document 12-3 Filed 12/13/21 Page 14 of 14 Page ID #:87
